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                                 MAGISTRATE JUDGE'S CIVIL MINUTES
                          IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF ARIZONA –
 U.S. Senior United States District Judge: Roslyn O. Silver       Date: November 2, 2021
 Case Number: CV-12-00601-PHX-ROS
 Parsons et al v. Ryan et al

 APPEARANCES: Plaintiff(s) Counsel                               Defendant(s) Counsel
              Donald Specter                                     Timothy Bojanowski
              Maya Abela                                         Rachel Love
              Daniel Barr                                        Ashlee Hesman
              Corene Kendrick                                    Daniel Struck
              Rita Lomio                                         Timothy Ray
              Austin Yost
              David Fathi
              Maria Morris

 BENCH TRIAL-DAY TWO
8:39 a.m. Court is in session. Plaintiffs are not present. Warden Jeffery Van Winkle, Client
Representative for Defendants, is present. Defendant Larry Gann is present. The parties discuss various
objections raised in the Final Pretrial Order (Doc. 4116). Robert Slavin, appearing via video
teleconference, is sworn, examined, cross-examined and excused. Plaintiff’s Exhibits 2387, 2388 and
2389 are admitted under seal. Plaintiff’s Exhibit 635 is offered but not admitted. The Court raises three
issues related to the testimony of Robert Joy. The Plaintiff is directed to file Findings of Fact and
Conclusions of Law addressing those three issues. Defendants shall file a responsive Findings of Fact
and Conclusion of Law. 10:21 pm Court stands in recess.

11:37 p.m. Court resumes. Same parties present. Plaintiffs next witness is not available until 12:30 p.m.
due to scheduling issues. Further argument made regarding Plaintiff’s Exhibit 635. 11:58 a.m. Court
stands in recess.

12:34 p.m. Court resumes. Same parties present. Discussion held regarding Defense’s witness schedule.
Defense counsel shall file a schedule for their anticipated witnesses by close of business on November
3, 2021. Laura Redmond, appearing via video teleconference and being assisted by ASL Interpreters
Marie Tavormina and Cindy Volk, is examined, cross-examined. Plaintiff’s Exhibits 2392, 2393, 2391
are admitted. Defendant’s Exhibits 5454(a)-5454(cc) are admitted. 3:07 p.m. Court stands in recess.

3:27 p.m. Court resumes. Same parties present. Laura Redmond is further cross-examined and examined
on redirect. Defendant’s Exhibits 5454dd, 5454ee, 5454ff, 5454gg, 5454hh, 5454ii, 5454jj are admitted.
Plaintiff’s Exhibits 934 is provisionally admitted. Travis Scott is sworn and examined. Plaintiff’s
Exhibits 1049-1063 are admitted on stipulation of the parties. Plaintiff’s Exhibits 1290 and 1318 are
admitted.
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4:33 p.m. Court stands in recess until 8:30 a.m. on Wednesday, November 4, 2021.


Deputy Clerk: Molly Frasher
Court Reporter: Tricia Lyons (AM)
                Elva Cruz-Lauer (PM)                                           Bench Tr: 5h 48m
                                                                               Start: 8:39 am
                                                                               Stop: 4:40 pm
